                              Case 1:07-cr-00050-LJO Document 12 Filed 02/12/07 Page 1 of 3




                                  Uniteb atate$ District
                                         EASTERN                       DISTRICT OF                   CALIFORNIA




                    UNITED STATES O F AMERICA

                                                                                      ORDER SETTING CONDITIONS
                                                                                             OF RELEASE

                                                                                  Case Number:




                  IT IS ORDERED that tlie release of the defendant is subject to the following conditions:

                    ( I ) The dcfendant shall not commit any offense in violation of federal, state or local law while on release in this
                           case.

                    (2) The defendxnt shall immediately advise the court. delense counsel and the U.S. attorney in writing of any
                        change in address and telephone number.              .   .


                    (3) The dcfendant shall appear at all proceedi~igsas required and shall surrender for service of nriy selltencc

                                                               dant >hall next appear at ( ~ blank,
                                                                                              f     lo he notified)-

                                                                               a-d
                                                                             --+   3eW 7 p.Y;30~f-777
                                                                                 31.
U.S.   DISTRICT COURT, JUDGE
                                                .                     0.
                                                                                                 Date 2nd Tbme




                                           Release on Personal Recognizance or Unsecured Bond
                  IT IS FURTHER ORDERED that the defendant be rele;~scdprovided that:

           ( J )(4) The defendant prolnises to appear ar all proceedings as required and to surrender for service of any sentence
                            imposed.

           (     ) (5) The defendant executes an unsecured bond binding the defendant to pay the Unitcd States the bum of

                                                                                                         dollars (%                          1
                            ill the event o f a failure lo appear as required or to surrender as directed for service of any sentencc imposed.




W H I T E C O P Y . COURT         YELLOW - D E F E N D A N T     B L U E . U S ATTORNEY         PINK - U S MARSHAL     G R E E N - P R E T R I A L SERVICES
.              Case 1:07-cr-00050-LJO Document 12 Filed 02/12/07 Page 2 of 3
JIMENEZ-NUNEZ, Santiago
Dkt. NO.07-032M           ADDITIONAL CONDITIONS OF RELEASE

           U p o n finding t h a t release b y o n e o f t h e a b o v e methods w i l l n o t b y itselfreasonably assure t h e a p p e a r a n c e o f t h e d e f e n d a n t
a n d the safety o f o t h e r persons a n d the community, i t is FURTHERORDERED t h a t the release o f t h e defendant is subject t o the
conditions m a r k e d below:


( )        (6)         T h e defendant is placed i n the custody ol:

                       N a m e o f person o r organization



w h o agrees (a) t o supervise the defendanl i n accordance w i t h a l l conditions o f release,
(b) to use every effort to assure the appearancc o f l h e defendanl a t a l l scheduled c o u r t proceedings, a n d (c) t o n o t i f y the c o u r t
i m m e d i a t e l y in the event the defendant violales a n y conditions o f rclcase o r disappears.


                       SIGNED:
                                               C U S T O D I A N OR P R O X Y

(X)        (7)
           , ,         The defendant shall:
                  )    (8)      maintain or artirel! seek emplor ment, and proride t ~ r o othereof    f         l o the PSO, upon request.
            X )        (b)      If!nu loose C a r l ' ~.lr. ioh. )nu shall n o t ~ f vthe PSO ~mmediatelv.
            1X
            ~~,        (P)
                       ~ -,
                                ahide
                                    -~ hv
                                   ~~   - , the followine                                                         .
                                                           " restrictions on his oersonal associations. olace of abode. or travel:
                                Reside at a residence approted bv the PSO. and not mote or he ahsent from this residence l o r more than 24 hrs.
                                without prior a ~ ~ p r o toaf lPSO: tratcl restricted to the Eastern 1)istrict of California, unless olhenrireappro,ed in
                                -
                                advance by PSO.
            (X )       (d)      avoid all contact with thefollowinp, named persons, who areconsidered eitheralle~edvictimrorpotentialwitnesses:
                                A n y co-defendants li5ted in thc chareine document i n this case, unless in the presence o f counsel or olhenrise
                                ~ p p r o t e din adtance h) the PSO.
            . ~.
            (X I        ..
                       tel                           -
                                reoort on a reeular basis to the followine aeencv:   --    ,
                                Pretrial Sertices and complv with their rules ant1 reeulations.
            I I        I1)      c,]mpl! u.th thu f,~..t,\r in& ~ u r f c u
                                refrain from possessing a firearm, destructive device, or other dangerous weapon.
                                refrain fromexcessiveuseofalcohol, andany useor unlawful possession ofa narcoticdrug and other controlled substances
                                defincd in 21 USC $802 unless prescribed by a licensed mcdical practitioncr.
                                undergo medical or psychiatric treatment andlor remain in an institution, as follows: Including trcatment for druglalcohol
                                depcndency, and pay for costs as approved by [he PSO.
            (X         ti)      exceuted a bond or an agreement to forfeit upon failing to appear or failurc to abide by any o f the conditions of releasc.
                                the following sum of money or designated p~openy:~ $ 1 0 0 , 0 0 0unsecured bond, signed by Aide Jimenez.
            ( )        (k)      post with the coun the following indicia or ownership o f the above-described property, or the following amount or
                                percentage o f the above-describcd money:
                                execute a bail bond with solvent sureties in the amount o f $
                                return to custody each (week)day as of o'clock aRer being released each (week)day as o f o'clock for employment,
                                schooling, - or the following- limited purpose(s):
                                                                           . .     ..
                                surrender any passport to the Clerk, United States District Court.
            ,    .      .  ,    obtain no oassoon
                                             , ~,                         ~. o f this case.
                                                        durine the oendencv
                  )    (PI      report on person l o the Pretrial Senices .tecnc! on the first working dar f o l l o ~ i n g)our release from custod!.
            (I                  p.irt.c.pac I I Jne<rfthc
                                                  ~         f J ~ ~ ~ ~ l l l & ~ ~ ~ ~ l c ~pnrgm,nco,npone~it,3nu
                                                                                              ~ l l f i l l ~ l n ~ l l l .miden! ,111 inc rcq~~r<mr.nt,,,ltnuprogram
                                                                                                                                                                 -     ~




                                which ( ) will or ( ) w i l l not include electronic monitoring or other location verilieiltion system.
                                ( ) (i) Curfew. You are restricted to your residence evely day ( ) from                                   10 -               ,or
                                                ( ) as directed by the Pretrial Services office or supervising ofticcr; or
                                ( ) (ii) Home Detention. You are restricted lo your residence at all times cxeept for employment; education;
                                                religious services; or mcntal health treatment; attorney visits; coun appearances; coun-ordered obligations;
                                                or othcr activities as pre-approved by the Pretrial Services office or supervising ofticer; or
                                ( ) (iii) Home Incarceration. You are restricted lo your residenee at all timcs except for medieal needs or trcatment,
                                               religious scrvices, and coun appcarances pre-approved by the Pretrial Services oftice or supervision ofticer.




(Copies to: Defendanl, US Atlorney, US Marshal, Pretrral Services)
                         .Case 1:07-cr-00050-LJO Document 12 Filed 02/12/07 Page 3 of 3
A 0 199C ( ~ e $ - 4 1 9 1 Advfce
                           )      of Pen~llcc\                                                                        Page
                                                           Advice of Penalties and Sanctions


        YOU ARE ADVISED O F THE FOLLOWING PENALTIES AND SANCTIONS:

     A violation of any ofthe foregoing conditions of release may result in the immediate issuance of a warrant for your arrest.
a revocation of release. an order of delention, and a prosecution for contempt of court and could result in a term of imprisonment,
a fine. or both.
     The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of
not more than ten years. if the offense is a felony: or a term of imprisonment of not more than one year, if the offense is n
misdemeilnor. This sentellce shall be ill addition to anv other sentence.
     Federal law makes it a crime p u ~ i i s l ~ i ~by
                                                     b l eup lo five years o f imprisonment. and a $250,000 fine or both to intimidate or
attempt to intimidate a wilness. victim. juror, informant or officer of the court. or to obstruct a criminal investigation. It is also
a crinie punishable by up to len years of imprisonment. a $250.000 fine or both. to tamper with a witness, victim or informant.
or to letaliate against a witness. victim or informant. or to threaten or attemp! to d o so.
     If after release. you knowingly fail to appear 21s required by the conditions of release. or lo surrender for the service of sentence,
you may be prosecuted for failing lo appear or surrender and additional punishn~entmay be imposed. If you are convicled of:
     (1) an offense pu~~ishable    by death, life iniprisonmen~,or imprisonment for a leml of fifteen years or more, you shall he
          fined not more than $250,000 or imprisoned for not more than len years. or both;
     (2) an offense punishable by imprisonment for a term of five ye;lr-s or more. but less than fifreen years. you shall be finsd
           not more than $250,000 or imprisoned for not lnorc than five years or bolh:
     (3) any other fclony. you shall be fined not Inore lhan $250,000 or imprisoned for ~ ~ more      o t than two years, or both;
     (4) a misdemeanor, you slii~llbe fined nor more than $100.001) or imprisoned not more than one year, or both.
     A term of imprisonnienl imposed for hilure to ilppeilr or surrender shall be in addition lo the sentence for any other offense.
In addition, a failure lo appear mily resul~in ihe forfeilure of any bond posted.

                                                           Acknowledgement of Defendant
    I ack~iowledgethat I :lm the defenclenl in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release. to :Ippe:!r as directed, and lo surrender for service of any sentence imposed. I am aware of the penalties
and sanctions set forth i~bove.


                                                                                           x 5'0n i ra? o J 'j ~ e f l e 2
                                                                                                       Sig~ratureof Defendant




(   J
    The defendanl is ORDERED released i~fterprocessing.
    )
                                                       Directions to United States Marshal

( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that
    the defendanl has posted bond andlor complied with all other c
    the appropriate judici
         Date:
                                            and pl;~cespecified, i
                                                              c'
                                                                                                                                   STRATE JUDGE

                                                                                                  Namr and Title of Judicial Officer




WHITE COPY - COURT                    YELLOW - DEFENDANT           BLUE - U.S. A T O R N E Y    PINK - U S. MARSHAL          GREEN - PRETRIAL SERVICES
@----
